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                          EXHIBIT 1
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                                     EXHIBIT 1
                              RECEIVERSHIP DEFENDANTS

The Receivership Defendants include but are not limited to the entities listed below.
Parenthetical information reflects state of organization (where needed to distinguish entities of
similar name).

   •   EquityBuild, Inc.
   •   EquityBuild Finance LLC
   •   109 N. Laramie, Inc.
   •   400 S. Kilbourn LLC
   •   1422 E68 LLC
   •   1632 Shirley LLC
   •   1700 Juneway LLC
   •   2136 W 83RD LLC
   •   2537 N McVicker LLC
   •   3400 Newkirk, LLC
   •   4520-26 S. Drexel LLC - n/k/a SSDF1 4520 S Drexel LLC
   •   4528 Michigan LLC
   •   4533-37 S. Calumet LLC
   •   4611-17 S. Drexel, LLC
   •   4750 Indiana LLC – n/k/a 4750 S Indiana, LLC
   •   4755 S Saint Lawrence Association Co.
   •   5001 S. Drexel LLC (DE)
   •   5001 S. Drexel LLC (IL)
   •   5411 W Wrightwood LLC
   •   5450 S. Indiana LLC
   •   5618 S MLK LLC
   •   5955 Sacramento, Inc.
   •   6001 Sacramento, Inc.
   •   6217-27 S. Dorchester LLC
   •   6250 S. Mozart, LLC
   •   6356 California, Inc.
   •   6437 S Kenwood, LLC
   •   6951 S Merrill LLC
   •   7024 S. Paxton LLC
   •   7026 Cornell, Inc.
   •   7107-29 S Bennett LLC
   •   7109 S. Calumet LLC
   •   7201 Constance Inc.
   •   7201 S Constance LLC
   •   7304 St. Lawrence, Inc.
   •   7450 Luella LLC
   •   7546 Saginaw, Inc.
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 •   7546 S. Saginaw LLC
 •   7600 S Kingston, LLC
 •   7625 East End, Inc.
 •   7625-35 S. East End LLC
 •   7760 Coles, Inc.
 •   7635 East End, Inc.
 •   7748 S. Essex LLC
 •   7749-59 S. Yates LLC
 •   7752 S. Muskegon LLC
 •   7823 Essex LLC
 •   7922 S Luella LLC
 •   7927-49 S Essex LLC
 •   7933 S Kingston LLC
 •   7945 S Kenwood LLC
 •   8000 Justine, Inc.
 •   8100 S. Essex LLC
 •   8104 S Kingston LLC
 •   8153 S Avalon LLC
 •   8209 S. Ellis, LLC
 •   8214 Ingleside, Inc.
 •   8217 Dorchester LLC
 •   8311 S Green LLC
 •   8432 S Throop Associates
 •   8725 S Ada LLC
 •   8745 S Sangamon LLC
 •   8801 S Bishop LLC
 •   8809 S Wood Associates
 •   9158 S Dobson LLC
 •   11318 S Church St Associates
 •   Amalgamated Capital Fund II LLC
 •   Amalgamated Capital Fund III LLC
 •   Chicago Capital Fund I LLC
 •   Chicago Capital Fund II LLC
 •   Chief Management LLC
 •   EB 6558 S. Vernon LLC
 •   EB Property Holdings LLC
 •   EB South Chicago 1, LLC
 •   EB South Chicago 2, LLC
 •   EB South Chicago 3 LLC
 •   EB South Chicago 4 LLC
 •   EB South Chicago 1 Manager, LLC
 •   EB South Chicago 2 Manager, LLC
 •   Eretz Private Capital LLC
 •   Friendship LLC

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 •   Great Lakes Development Corp LLC
 •   Hard Money Company, LLC
 •   Heartland Capital Fund I LLC
 •   Heartland Capital Fund II, LLC
 •   Heartland Development Fund I LLC
 •   Heartland Private Capital, LLC
 •   Hybrid Capital Fund LLC
 •   Offsite Asset Management I LLC
 •   Offsite Asset Management II LLC
 •   Offsite Asset Management LLC
 •   Phoenix Capital Finance LLC
 •   Portfolio Asset Holdings LLC
 •   Portfolio Mezzanine Lender, LLC
 •   Rothbard Equity Fund LLC
 •   South Shore Property Holdings LLC (DE)
 •   South Shore Property Holdings LLC (WY)
 •   South Shore Property Holdings I LLC
 •   South Shore Property Holdings II LLC (DE)
 •   South Shore Property Holdings II LLC (WY)
 •   South Shore Property Holdings III LLC
 •   South Side Development Fund 1 LLC
 •   South Side Development Fund 2 LLC
 •   South Side Development Fund 3 LLC
 •   South Side Development Fund 4 LLC
 •   South Side Development Fund 5 LLC
 •   South Side Development Fund 6 LLC
 •   South Side Development Fund 7 LLC
 •   South Side Development Fund 8, LLC
 •   SSDF1 4611 S. Drexel LLC
 •   SSDF1 6751 S Merrill LLC
 •   SSDF1 7110 S Cornell LLC
 •   SSDF1 Holdco 1, LLC
 •   SSDF1 Holdco 2 LLC
 •   SSDF1 Holdco 3 LLC
 •   SSDF1 Holdco 4 LLC
 •   SSDF2 1139 E 79th LLC
 •   SSDF2 Holdco 1 LLC
 •   SSDF2 Holdco 2 LLC
 •   SSDF2 Holdco 3 LLC
 •   SSDF3 Holdco 1 LLC
 •   SSDF3 Holdco 2 LLC
 •   SSDF4 638 N Avers LLC
 •   SSDF4 701 S 5th LLC
 •   SSDF4 6217 S. Dorchester LLC

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 •   SSDF4 6250 S. Mozart LLC
 •   SSDF4 7024 S Paxton LLC
 •   SSDF4 7255 S. Euclid LLC
 •   SSDF4 Holdco 1 LLC
 •   SSDF4 Holdco 2 LLC
 •   SSDF4 Holdco 3 LLC
 •   SSDF4 Holdco 4 LLC
 •   SSDF4 Holdco 5 LLC
 •   SSDF4 Holdco 6 LLC
 •   SSDF5 Holdco 1 LLC
 •   SSDF5 Portfolio 1 LLC
 •   SSDF6 6160 S MLK LLC
 •   SSDF6 6244 S MLK LLC
 •   SSDF6 Holdco 1 LLC
 •   SSDF6 Holdco 2 LLC
 •   SSDF7 2453 E 75TH LLC
 •   SSDF7 7600 S Kingston LLC
 •   SSDF7 Holdco 1 LLC
 •   SSDF7 Holdco 2 LLC
 •   SSDF7 Holdco 3 LLC
 •   SSDF7 Holdco 4 LLC
 •   SSDF7 Marquette Park LLC
 •   SSDF7 Portfolio 1 LLC
 •   SSDF8 Holdco 1 LLC
 •   SSDF8 Portfolio 1 LLC
 •   SSPH 6951 S Merrill LLC
 •   SSPH 7927-49 S. Essex LLC
 •   SSPH 11117 S Longwood LLC
 •   SSPH Holdco 1 LLC
 •   SSPH Holdco 2 LLC
 •   SSPH Portfolio 1 LLC
 •   SSPH Springer LLC
 •   Tikkun Holdings, LLC
 •   Any affiliate entity of EquityBuild Inc., EquityBuild Finance LLC, Jerome Cohen, and/or
     Shaun Cohen




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                          EXHIBIT 2
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                                          Exhibit 2
                        Outstanding Property Taxes as of April 25, 2019

                                                           Total 2017      1st Inst 2018
        Property Address           Alternative Address     Delinquent       Delinquent
                                                             Taxes             Taxes

5001 S Drexel Boulevard          909 E 50th Street                 $0.00            $0.00
8100 S Essex Avenue                                           $67,710.06       $33,292.43
7500-06 S Eggleston Avenue                                         $0.00            $0.00
7549-59 S Essex Avenue                                             $0.00            $0.00
6160-6212 S Martin Luther King                                     $0.00            $0.00
                                                              $20,163.55       $20,601.08
7927-29 S Essex Avenue                                         $6,366.70        $3,068.98
7933-35 S Essex Avenue                                         $6,860.84        $3,307.53
7937-39 S Essex Avenue                                         $6,860.27        $3,307.27
7943-45 S Essex Avenue                                         $9,519.46        $4,591.07
7947-49 S Essex Avenue                                         $5,974.72        $2,879.73
1700 Juneway Terrace                                               $0.00       $16,416.30
6949-59 S Merrill Avenue                                           $0.00            $0.00
4533-37 S Calumet Avenue                                           $0.00            $0.00
5450-52 S Indiana Avenue         118-132 E Garfield                $0.00            $0.00
7749 S Yates Boulevard                                        $13,973.55       $14,273.67
6437 S Kenwood Avenue                                              $0.00            $0.00
7109-19 S Calumet Avenue                                           $0.00            $0.00
1414 East 62nd Place                                           $2,489.93        $1,197.32
1418 East 62nd Place                                           $1,176.04          $562.94
7301-09 S Stewart Avenue                                      $27,614.28       $14,585.89
3030 E 79th Street                                             $4,464.75        $2,150.32
                                                               $4,474.63       $2,155.14
                                                                 $569.32         $269.97
2909 E 78th Street                                            $14,862.40       $15,182.19
8047-55 S Manistee Avenue                                     $11,506.00       $11,751.28
1017 W 102nd Street                                                $0.00        $1,374.58
1516 E 85th Place                                                  $0.00        $1,710.98
2136 W 83rd Street                                                 $0.00        $1,391.81
417 Oglesby Avenue                                                 $0.00            $0.00
7922 S Luella Avenue                                               $0.00            $0.00
7925 S Kingston Avenue                                             $0.00        $1,226.70
7933 S Kingston Avenue                                             $0.00        $1,229.01
8030 S Marquette Avenue                                            $0.00        $1,420.12
8104 S Kingston Avenue                                             $0.00        $1,848.54
8403 S Aberdeen Street                                             $0.00        $1,440.01
8405 S Marquette Avenue                                            $0.00        $1,289.02
8529 S Rhodes Avenue                                               $0.00        $1,664.39
8800 S Ada Street                                                  $0.00            $0.00
9212 S Parnell Avenue                                              $0.00        $1,320.46
10012 S LaSalle Avenue                                             $0.00            $0.00
11318 S Church Street                                              $0.00            $0.00


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                                         Exhibit 2
                       Outstanding Property Taxes as of April 25, 2019

                                                          Total 2017      1st Inst 2018
        Property Address          Alternative Address     Delinquent       Delinquent
                                                            Taxes             Taxes

3213 S Throop Street                                              $0.00            $0.00
3723 W 68th Place                                                 $0.00            $0.00
406 E 87th Place                                                  $0.00            $0.00
61 E 92nd Street                                                  $0.00            $0.00
6554 S Rhodes Avenue                                              $0.00            $0.00
6825 S Indiana Avenue                                             $0.00            $0.00
7210 S Vernon Avenue                                              $0.00        $1,845.82
7712 S Euclid Avenue                                              $0.00        $1,543.04
7953 S Woodlawn Avenue                                            $0.00        $3,113.04
8107 S Kingston Avenue                                            $0.00        $1,595.23
8346 S Constance Avenue                                           $0.00        $1,106.35
8432 S Essex Avenue                                               $0.00        $1,463.51
8517 S Vernon Avenue                                              $0.00        $1,310.96
2129 W 71st Street                                                $0.00        $1,014.77
9610 S Woodlawn Avenue                                            $0.00        $1,404.39
5437 S Laflin Street                                              $0.00        $1,478.33
6759 S Indiana Avenue                                             $0.00          $970.31
7300-04 St Lawrence Avenue                                        $0.00        $4,563.62
7760 S Coles Avenue                                               $0.00        $7,146.74
1401 W 109th Place                                                $0.00        $1,524.94
310 E 50th Street                                                 $0.00        $3,086.07
6807 S Indiana Avenue                                             $0.00        $1,881.55
8000 S Justine Street           1541 E 80th Street                $0.00        $4,573.13
8107 S Ellis Avenue                                               $0.00        $2,865.37
8209 S Ellis Avenue                                               $0.00        $9,146.30
8214 S Ingleside Avenue                                           $0.00        $5,807.40
5955 S Sacramento Avenue        2948-56 W 60th Street        $16,537.68        $7,926.79
6001 S Sacramento Avenue        2945-51 W 60th Street             $0.00        $5,487.79
7026 S Cornell Avenue                                             $0.00        $3,581.66
7237 S Bennett Avenue                                             $0.00       $10,191.52
7834-44 S Ellis Avenue                                       $18,243.46       $20,069.60
4520-26 S Drexel Boulevard                                        $0.00            $0.00
4611 S Drexel Boulevard                                           $0.00            $0.00
6751-57 S Merrill Avenue        2136 East 68th Street             $0.00            $0.00
7110 S Cornell Avenue                                             $0.00            $0.00
1131-41 E 79th Place                                              $0.00        $4,000.31
6217-27 S Dorchester Avenue                                       $0.00            $0.00
                                                                  $0.00            $0.00
6250 S Mozart Avenue            2832-36 W 63rd Street             $0.00        $9,774.49
638 N Avers Avenue                                                $0.00            $0.00
701 S 5th Avenue                414 Walnut                   $94,018.73       $45,851.61
7024-32 S Paxton Avenue                                           $0.00            $0.00


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                                          Exhibit 2
                        Outstanding Property Taxes as of April 25, 2019

                                                           Total 2017      1st Inst 2018
         Property Address           Alternative Address    Delinquent       Delinquent
                                                             Taxes             Taxes

7255-57 S Euclid Avenue           1940-44 E 73rd Street            $0.00        $7,737.42
3074 Cheltenham Place             7836 S Shore Drive               $0.00            $0.00
7625-33 S East End Avenue                                          $0.00            $0.00
7635-43 S East End Avenue                                          $0.00       $14,068.93
7750-58 S Muskegon Avenue         2818-36 E 78th Street       $18,058.79       $18,449.62
7201 S Constance Avenue           1825-31 E 72nd Street        $3,960.46       $12,134.07
2736 W 64th Street                                                 $0.00        $3,001.34
4317 S Michigan Avenue                                             $0.00        $3,914.75
6355-59 S Talman Avenue           2616-22 W 64th Street            $0.00        $7,902.37
6356 S California Avenue          2804 W 64th Street               $0.00        $5,663.87
7051 S Bennett Avenue                                              $0.00       $10,463.29
7201-07 S Dorchester Avenue       1401 E 72nd Street               $0.00        $6,663.13
7442-48 S Calumet Avenue                                           $0.00        $6,341.40
7508 S Essex Avenue               2453-59 E 75th Street            $0.00            $0.00
7546 S Saginaw Avenue                                              $0.00        $6,818.46
7600 S Kingston Avenue            2527 E 76th Street               $0.00       $19,094.37
7656 S Kingston Avenue            2514-20 E 77th Street            $0.00        $9,306.42
7701 S Essex Avenue                                                $0.00            $0.00
7748-50 S Essex Avenue            2450-52 E 78th Street            $0.00       $17,863.64
7953-59 S Marquette Road          2708-10 E 80th Street            $0.00        $8,710.81
816-20 E Marquette Road                                            $0.00            $0.00
8201 S Kingston Avenue                                             $0.00        $5,243.86
8326-32 S Ellis Avenue                                             $0.00        $8,284.69
8334-40 S Ellis Avenue                                         $8,114.72        $8,128.32
8342-50 S Ellis Avenue                                         $8,114.72        $4,711.30
8352-58 S Ellis Avenue                                         $8,114.58        $7,312.54
11117-11119 S Longwood Drive                                  $19,007.02       $19,422.51
1422 East 68th Street                                              $0.00            $0.00
2800 E 81st Street                                                 $0.00            $0.00
4750 S Indiana Avenue                                              $0.00            $0.00
5618 S Martin Luther King Drive                                    $0.00            $0.00
6558 S Vernon Avenue              416-24 E 66th Street             $0.00            $0.00
7450 S Luella Avenue              2220 East 75th Street            $0.00        $7,275.92
7840 S Yates Avenue                                                $0.00            $0.00


                                                          $398,756.66      $548,346.40




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                           EXHIBIT 3
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                                      Exhibit 3
           Outstanding Water Utility Account Balances as of April 11, 2019

                                                                         Utility
                                                                        (Water)
            Property Address                   Alternative Address
                                                                        Account
                                                                        Balance
 11117-11119 S Longwood Drive                                             $4,509.54
 1401 W 109th Place                                                       $1,011.59
 1700 Juneway Terrace                                                    $18,778.50
 2736 W 64th Street                                                       $2,001.30
 2909 E 78th Street                                                       $6,864.48
 310 E 50th Street                                                             $0.00
 4317 S Michigan Avenue                                                     $821.28
 5618 S Martin Luther King Drive                                          $1,029.04
 5955 S Sacramento Avenue                    2948-56 W 60th Street          $882.90
 6001 S Sacramento Avenue                    2945-51 W 60th Street          $480.66
 6160-6212 S Martin Luther King Drive                                    $67,400.48
 6250 S Mozart Avenue                        2832-36 W 63rd Street       $11,082.06
 6355-59 S Talman Avenue                     2616-22 W 64th Street        $1,752.52
 6356 S California Avenue                    2804 W 64th Street             $676.92
 638 N Avers Avenue                                                       $3,785.00
 6558 S Vernon Avenue                        416-24 E 66th Street         $1,317.54
 6751-57 S Merrill Avenue                    2136 East 68th Street        $4,223.26
 6807 S Indiana Avenue                                                      $186.68
 7026 S Cornell Avenue                                                      $702.26
 7109-19 S Calumet Avenue                                                $22,145.10
 7201 S Constance Avenue                     1825-31 E 72nd Street        $4,569.74
 7201-07 S Dorchester Avenue                 1401 E 72nd Street           $1,074.46
 7237 S Bennett Avenue                                                    $4,322.46
 7255-57 S Euclid Avenue                     1940-44 E 73rd Street        $1,453.98
 7300-04 St Lawrence Avenue                                               $1,636.00
 7546 S Saginaw Avenue                                                    $1,641.94
 7600 S Kingston Avenue                      2527 E 76th Street                $0.00
 7656 S Kingston Avenue                      2514-20 E 77th Street        $1,424.34
 7748-50 S Essex Avenue                      2450-52 E 78th Street        $2,927.82
 7760 S Coles Avenue                                                        $494.54
 7927-29 S Essex Avenue                                                   $1,262.14
 7933-35 S Essex Avenue                                                     $133.09
 7937-39 S Essex Avenue                                                     $576.88
 7943-45 S Essex Avenue                                                     $373.28
 7947-49 S Essex Avenue                                                   $1,598.06
 7953-59 S Marquette Road                    2708-10 E 80th Street          $761.58


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                                      Exhibit 3
           Outstanding Water Utility Account Balances as of April 11, 2019

                                                                         Utility
                                                                        (Water)
            Property Address                   Alternative Address
                                                                        Account
                                                                        Balance
 8000 S Justine Street                       1541 E 80th Street             $818.32
 8107 S Ellis Avenue                                                        $869.42
 8209 S Ellis Avenue                                                      $2,143.90
 8214 S Ingleside Avenue                                                    $829.86
 8326-32 S Ellis Avenue                                                   $3,069.68
 8334-40 S Ellis Avenue                                                   $1,804.86
 8342-50 S Ellis Avenue                                                   $1,907.26
 8352-58 S Ellis Avenue                                                   $1,540.16
 9610 S Woodlawn Avenue                                                        $0.00
 10012 S LaSalle Avenue                                                        $0.00
 1017 W 102nd Street                                                         $13.42
 1131-41 E 79th Place                                                          $0.00
 11318 S Church Street                                                         $6.97
 1414 East 62nd Place                                                          $0.00
 1422 East 68th Street                                                         $0.00
 1516 E 85th Place                                                             $6.97
 2129 W 71st Street                                                            $0.00
 2136 W 83rd Street                                                            $0.00
 2800 E 81st Street                                                            $0.00
 3030 E 79th Street                                                            $0.00
 3074 Cheltenham Place                       7836 S Shore Drive          $11,442.02
 3074 Cheltenham Place                       7836 S Shore Drive           $2,017.78
 3213 S Throop Street                                                          $0.00
 3723 W 68th Place                                                             $0.00
 406 E 87th Place                                                              $7.67
 4520-26 S Drexel Boulevard                                               $8,462.20
 4533-37 S Calumet Avenue                                                      $0.00
 4611 S Drexel Boulevard                                                  $5,432.10
 4750 S Indiana Avenue                                                         $0.00
 5001 S Drexel Boulevard                     909 E 50th Street           $42,024.30
 5437 S Laflin Street                                                          $0.00
 5450-52 S Indiana Avenue                    118-132 E Garfield                $0.00
 61 E 92nd Street                                                              $6.51
 6217 S Dorchester Avenue                                                      $0.00
 6437 S Kenwood Avenue                                                         $0.00
 6554 S Rhodes Avenue                                                          $0.00


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                                     Exhibit 3
          Outstanding Water Utility Account Balances as of April 11, 2019

                                                                        Utility
                                                                       (Water)
           Property Address                   Alternative Address
                                                                       Account
                                                                       Balance
 6759 S Indiana Avenue                                                        $0.00
 6825 S Indiana Avenue                                                        $0.00
 6949-59 S Merrill Avenue                                                     $0.00
 7024-32 S Paxton Avenue                                                      $0.00
 7051 S Bennett Avenue                                                        $0.00
 7110 S Cornell Avenue                                                        $0.00
 7210 S Vernon Avenue                                                         $0.00
 7301-09 S Stewart Avenue                                                     $0.00
 7442-48 S Calumet Avenue                                                     $0.00
 7450 S Luella Avenue                       2220 East 75th Street             $0.00
 7500-06 S Eggleston Avenue                                             $25,947.14
 7508 S Essex Avenue                        2453-59 E 75th Street             $0.00
 7547-49 S Essex Avenue                                                 $19,849.98
 7625-33 S East End Avenue                                                    $0.00
 7635-43 S East End Avenue                                                    $0.00
 7701 S Essex Avenue                                                     $2,577.56
 7712 S Euclid Avenue                                                         $7.69
 7749 S Yates Boulevard                                                       $0.00
 7750-58 S Muskegon Avenue                  2818-36 E 78th Street             $0.00
 7834-44 S Ellis Avenue                                                       $0.00
 7840 S Yates Avenue                                                          $0.00
 7922 S Luella Avenue                                                         $0.00
 7925 S Kingston Avenue                                                       $7.67
 7933 S Kingston Avenue                                                       $6.97
 7953 S Woodlawn Avenue                                                       $0.00
 8030 S Marquette Avenue                                                      $0.00
 8047-55 S Manistee Avenue                                                    $0.00
 8100 S Essex Avenue                                                       $319.54
 8104 S Kingston Avenue                                                       $8.13
 8107 S Kingston Avenue                                                       $8.82
 816-20 E Marquette Road                                                      $0.00
 8201 S Kingston Avenue                                                       $0.00
 8346 S Constance Avenue                                                      $6.71
 8403 S Aberdeen Street                                                       $0.00
 8405 S Marquette Avenue                                                      $8.39
 8432 S Essex Avenue                                                          $6.97


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                                      Exhibit 3
           Outstanding Water Utility Account Balances as of April 11, 2019

                                                                         Utility
                                                                        (Water)
            Property Address                 Alternative Address
                                                                        Account
                                                                        Balance
 8517 S Vernon Avenue                                                     $2,090.11
 8529 S Rhodes Avenue                                                          $7.67
 8800 S Ada Street                                                             $0.00
 9212 S Parnell Avenue                                                         $0.00
                                                                        $307,158.17




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                           EXHIBIT 4
                                                 Exhibit
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                                                    Filed:

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                      Reporting Period 1/1/2019 to 3/31/2019

Fund Accounting (See Instructions):
                                                                           Detail          Subtotal       Grand Total
Line 1        Beginning Balance (As of 1/1/2019):                         $307,345.37                       $307,345.37
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                        $416.75
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties                                  $191,559.96
Line 8        Miscellaneous - Other
                Total Funds Available (Line 1-8):                                                          $499,322.08
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses¹                                      ($266,570.62)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                              $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                             ($266,570.62)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                   2. Administrative Expenses
                   3. Miscellaneous
                Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
                                             Exhibit
          Case: 1:18-cv-05587 Document #: 348-1      4 04/30/19 Page 17 of 28 PageID #:5704
                                                Filed:

                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                   Reporting Period 1/1/2019 to 3/31/2019

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-9):                                                  ($144,679.61)
Line 13         Ending Balance (As of 3/31/2019):                                                 $232,751.46
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $232,751.46
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                          $232,751.46

               ¹ Employment taxes ($3,316.27); corporate tax
               ($141.81); insurance ($98,537.30); payroll service
               ($177.00); property taxes ($41,194.93); property repairs
               ($28,730.00); property utilities ($1,743.43); property
               management expenses ($92,729.88).
                                   Exhibit
Case: 1:18-cv-05587 Document #: 348-1      4 04/30/19 Page 18 of 28 PageID #:5705
                                      Filed:

     STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                    Receivership; Civil Court Docket No. 18-cv-05587
                       Reporting Period 1/1/2019 to 3/31/2019

                                         Receiver:
                                                                       /s/ Kevin B. Duff
                                                         (Signature)

                                                     Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                         (Printed Name)

                                             Date:                     April 24, 2019
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                           EXHIBIT 5
Case: 1:18-cv-05587 Document #: 348-1 Filed:
                                  Exhibit 5  04/30/19 Page 20 of 28 PageID #:5707

                        EQUITYBUILD, INC. RECEIVERSHIP
                                Case No. 18-cv-05587
                                   1st Quarter 2019
                        Schedule of Receipts and Disbursements

Beginning
Balance
1/1/19                                                              $307,345.37

RECEIPTS

                Received From                     Amount

                Gross rental income                  $191,559.96
                Interest earned on Receiver's
                account                                   $416.75



                TOTAL RECEIPTS:                                     $499,322.08

DISBURSEMENTS

                Paid To                          Amount
                State (IL, LA, OK) and Federal
                Treasury Departments
                (employment taxes for 3d &
                4th quarters 2018)                  ($3,316.27)
                State Treasury Department
                (LA) (2017 past due corporate
                tax)                                  ($141.81)
                FIRST Insurance Funding
                Corp.¹                             ($98,287.30)
                Cincinnati Insurance Group
                (deductible on general liability
                insurance claim)                      ($250.00)
                Paychex (payroll services)            ($177.00)
                Cook County Clerk (property
                taxes on EB properties)            ($35,194.93)
                Paper Street (property tax on
                1700-08 Juneway Terrace)            ($6,000.00)
                Village of Maywood, Dept. of
                Water (past due bill for 701
                55th Street)                        ($1,743.43)
                Paper Street (property repairs
                to 7760 S. Coles & 8107 S.
                Ellis)                             ($28,730.00)
Case: 1:18-cv-05587 Document #: 348-1 Filed:
                                  Exhibit 5  04/30/19 Page 21 of 28 PageID #:5708

                          EQUITYBUILD, INC. RECEIVERSHIP
                                  Case No. 18-cv-05587
                                     1st Quarter 2019
                          Schedule of Receipts and Disbursements

                  WPD (property management
                  expenses)                             ($82,500.00)
                  Paper Street (property
                  management expenses)                  ($10,229.88)


                  TOTAL DISBURSEMENTS:                                 ($266,570.62)

                  Grand Total Cash on Hand
                  at 3/31/19:                                          $232,751.46


¹ Installments on premium finance agreement
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                           EXHIBIT 6
Case: 1:18-cv-05587 Document #: 348-1 Filed: 04/30/19 Page 23 of 28 PageID #:5710




                                          Exhibit 6

    Receiver’s Payment Of The First Installment Of 2018 Cook County Real Estate Taxes

                                                Amount of Receiver
                       Property Address
                                                    Payment
                     2736 W. 64th Street                    $2,762.34
                     4317 S. Michigan                       $1,029.92
                     7546 S Saginaw                         $3,207.20
                     8334-40 S. Ellis                         $151.81
                     8342-50 S. Ellis                       $3,469.31
                     8352-58 S. Ellis                         $943.71
                     5618 S. Martin
                                                            $1,833.26
                     Luther King
                     6558 S. Vernon                         $6,612.56
                     1700 Juneway                           $3,652.14
                     6751-57 S. Merrill                     $4,899.45
                     6250 S. Mozart                         $3,235.44
                     7255-57 S. Euclid                      $3,143.79
                     7625-33 S. East End
                                                              $254.00
                     Ave.
                                                      Total $35,194.93
Case: 1:18-cv-05587 Document #: 348-1 Filed: 04/30/19 Page 24 of 28 PageID #:5711




                           EXHIBIT 7
Case: 1:18-cv-05587 Document #: 348-1 Filed: 04/30/19 Page 25 of 28 PageID #:5712

                                         Exhibit 7

   Payment Of The First Installment Of 2018 Cook County Real Estate Taxes By Property
                 Manager, WPD Management, At Direction of Receiver


                                                Amount of WPD
                                             Management Payment
                          Address
                                               from January 2019
                                             through April 24, 2019
                   7549 S. Essex                          $12,609.21
                   4533 S. Calumet                         $3,645.15
                   5001 S. Drexel                         $10,544.32
                   5450 S. Indiana                         $4,974.05
                   4520 S. Drexel                         $32,829.60
                   4611 S. Drexel                         $27,350.04
                   7110 S. Cornell                         $4,684.30
                   1131 E. 79th Place                      $3,648.70
                   6217 S. Dorchester                      $8,496.49
                   7024 S. Paxton                          $8,797.73
                   2453 E. 75th                            $2,644.07
                   816 E. Marquette                        $2,049.68
                   6951 S. Merrill                        $12,867.17
                   10012 S. LaSalle                          $918.05
                   11318 S. Church                         $1,281.75
                   3213 S. Throop                          $1,716.77
                   406 E. 87th                             $1,239.17
                   61 E. 92nd                              $1,080.13
                   6554 S. Rhodes                          $1,763.09
                   6825 S. Indiana                         $2,012.66
                   7836 South Shore Dr                         $11.73
                   7625 S. East End                        $6,552.61
                   7701 S. Essex                           $4,846.72
                   1422 E. 68th                            $3,058.93
                   2800-2806 E. 81st                       $5,201.59
                   4750 S. Indiana                         $3,222.30
                   2220-2226 E. 75th                       $1,059.86
                   7840 S. Yates                           $5,191.52
                   3723 W. 68th Place                      $1,576.86
                   7502 S. Eggleston                      $12,366.14
                   7502 S. Eggleston                      $11,151.10
                   4533 S. Calumet                         $3,527.23
                   5450 S. Indiana                         $5,364.96
                   816 E. Marquette                        $3,730.47
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                                         Exhibit 7

   Payment Of The First Installment Of 2018 Cook County Real Estate Taxes By Property
                 Manager, WPD Management, At Direction of Receiver

                                                Amount of WPD
                                             Management Payment
                          Address
                                               from January 2019
                                             through April 24, 2019
                   2453 E. 75th                            $8,786.32
                   7701 S. Essex                           $5,246.26
                   7301 S. Stewart                         $2,606.71
                   7625 S. East End                        $4,207.43
                   7836 South Shore Dr                    $15,395.30
                   7844 S. Ellis                           $1,400.07
                   1131 E. 79th Place                      $8,436.16
                   6217 S. Dorchester                      $7,469.21
                   6437 S. Kenwood                        $13,213.61
                   7024 S. Paxton                         $11,323.87
                   5450 S. Indiana                           $224.34
                   7549 S. Essex                          $12,715.34
                   7922 S. Luella                          $1,816.55
                   8800 S. Ada                             $1,197.72
                   417 S. Oglesby                          $2,849.28
                   6437 S. Kenwood                         $4,150.89
                                                   Total $313,053.21
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                           EXHIBIT 8
      Case: 1:18-cv-05587 Document #: 348-1 Filed: 04/30/19 Page 28 of 28 PageID #:5715

                                                          Exhibit 8

                                                    Master Asset List
                                        Receiver’s Account (as of 3/31/2019)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking                                                               $232,751.46

                                       Receivership Defendants’ Accounts
Institution          Account Information                           Current Value¹ Amount Transferred
                                                                                  to Receiver’s
                                                                                  Account
Wells Fargo          Checking (53 accounts in the names of the        $16,321.68³          $105,870.94⁴
                     affiliates and affiliate entities included as
                     Receivership Defendants)²
Wells Fargo          Checking (account in the names of Shaun                                $23,065.43⁵
                     Cohen and spouse)
Byline Bank          Checking (2 accounts in names of                  $21,828.73
                     Receivership Defendants)
                                                                                                                        Total:
                                                                                                                  $128,936.37

                                EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                    Other, Non-Illinois Real Estate
Description                                             Appraised Market Value
Single family home in Naples, Florida                                                                        ±$1,400,000.00⁶

                                                                         Approximate mortgage amount: $500,000.00
                                                                        Approximate value less mortgage: $900,000.00

Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00

Plot of land in Houston, Texas                                                                              To be determined


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the Receivership Estate.
     ³ $16,321.68 reflects the value as of 2/26/19, the date of the last update provided by Wells Fargo, despite the
     Receiver’s continued efforts to gather further information on the frozen accounts.
     ⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁵ This amount was transferred to the Receiver’s account as of 11/8/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ⁶ Source: www.zillow.com
